 

Case 4:18-cr-00153-Y ocument 15 Filed 07/11/18 Pa lof3 Page|D 15

   
   
 
  

 

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IN THE UNITED STATES DISTRICT C(
FOR THE NORTHERN DISTRICT OF T 3 J (/L l l wm
FORT WORTH DIVISION >
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UNITED STATES oF AMERICA - ay K’Us owner C°`JM':;,=_-
D@‘pufy
v. ' No.
KYLE EDWARD DAQUILLA (01) 4" 1 8 C li 0 1 5 §§ Y
INDICTMENT
The Grand Jury Charges:
Count One

Possession with Intent to Distribute a Controlled Substance
(Violation of 21 U.S.C. § 841(a)(1) and (b)(l)(B))

On or about March 1, 2018, in the Fort Worth Division of the Northern District of
` Texas, defendant Kyle Edward Daquilla did knowingly and intentionally possess With
intent to distribute 50 grams or more of a mixture and substance containing a detectable

amount of methamphetamine, a Schedule II Controlled Substance.

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In Violation of21 U.S.C. § 841(a)(1) and (b)(l)(B).

A TRUE BILL.

 

FoREPERSoN

ERIN NEALY COX
UNITED STATES ATTORNEY

/._~ /\/
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

 

THE UNITED STATES OF AMERICA

KYLE EDWARD DAQUILLA (Ol)

 

INDICTMENT

21 U.S.C. § 84l(a)(1) and (b)(l)(B)
Possession With Intent to Distribute a Controlled Substance
1 Count

 

A true bill rendered 4 l
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Filed in open coult this }BJWM“ July, 2018. m

 

 

 

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Magistra e Court Numbe . 4:18-MJ-165-BJ

